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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

GARY ALAN SHOUPE,

             Plaintiff,

v.                                                          No. CV 20-503 BRB/CG

UNITED STATES OF AMERICA,

             Defendant.


     ORDER SETTING TELEPHONIC PRE-SETTLEMENT STATUS CONFERENCE

       THIS MATTER is before the Court upon review of the record and after conferring

with counsel. IT IS HEREBY ORDERED that a pre-settlement status conference will be

held by telephone on March 8, 2021, at 2:00 p.m. Parties shall call Judge Garza’s

AT&T Teleconference line at (877) 810-9415, follow the prompts, and enter the Access

Code 7467959, to be connected to the proceedings.

       IT IS SO ORDERED.


                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
